      Case 2:11-cr-00295-MCE Document 103 Filed 10/17/11 Page 1 of 3


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6    Attorney for Defendant
     Olga Nekrasova
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8
                                IN THE UNITED STATES DISTRICT COURT
9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            SACRAMENTO DIVISION
11

12

13
     UNITED STATES OF AMERICA,                      ) Case No. CR – 11-00295 MCE
14                                                  )
                                                    )
15                                                  ) AMENDED STIPULATION AND
                                   Plaintiff,       ) ORDER TO U.S. PROBATION TO
16                                                  ) PREPARE A PRE-PLEA
            v.                                      )
17                                                  ) PRESENTENCE REPORT
     OLGA NEKRASOVA                                 )
18                                                  )
                                   Defendant.       )
19                                                  )

20           The parties, Daniel McConkie, Jr., Assistant United States Attorney, and Jennifer
21   C. Noble, attorney for defendant Olga Nekrasova; hereby stipulate and agree to the
22   following:
23           1. The parties request that the Court order U.S. Probation to prepare a pre-plea
24   pre-sentence report including a criminal record check and a preliminary guideline
25   calculations.
26   ///
27   ///
28   ///

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     Stipulation and Order to U.S. Probation                             Case no. CR 11-00295 MCE
     to Prepare a Pre-Plea Pre-Sentence Report
      Case 2:11-cr-00295-MCE Document 103 Filed 10/17/11 Page 2 of 3


1            2. The parties agree to provide copies of any criminal records information to U.S.
2    Probation to facilitate the preparation of the report. The parties believe that they have
3    already obtained certified copies of most of the significant criminal history documents
4    needed for a guideline calculation.
5            3. The parties believe that this pre-plea presentence report will facilitate a plea
6    agreement, and will facilitate the preparation of a final presentence report. The parties
7    believe that the report will take no more than five weeks to complete.
8            Additionally, the parties, the United States of America and the defendant, hereby
9    agree and stipulate that the ends of justice served by the ordering the U.S. Probation
10   Office to conduct this pre-plea pre-sentence outweighs the best interests of the public
11   and the defendant in a speedy trial and that time under the Speedy Trial Act should
12   therefore be excluded under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4
13   (to allow defense counsel time to prepare, discuss plea agreement and possible
14   resolution with government, and analyze how best to proceed with the case) from the
15   date of the parties’ stipulation, October 12, 2011, to and including November 17, 2011.
16   The Court previously excluded time pursuant to Local Code T4 through October 14,

17   2011.

18   IT IS SO STIPULATED.

19   Dated: October 12, 2011                     Respectfully submitted,

20                                               WISEMAN LAW GROUP, P.C.
21
                                                 By: /s/ Jennifer C. Noble
22                                               JENNIFER C. NOBLE
                                                 Attorney for Defendant
23                                               OLGA NEKRASOVA
24

25   Dated: October 12, 2011                     BENJAMIN B. WAGNER
                                                 United States Attorney
26
                                                 By: /s/ Daniel McConkie, Jr.
27
                                                 DANIEL McCONKIE, JR.
28                                               Assistant U.S. Attorney
                                                 Attorney for Plaintiff
                                                   2
     Stipulation and Order to U.S. Probation                                 Case no. CR 11-00295 MCE
     to Prepare a Pre-Plea Pre-Sentence Report
                  Case 2:11-cr-00295-MCE Document 103 Filed 10/17/11 Page 3 of 3


1                                                           ORDER
2                           GOOD CAUSE APPEARING, the Court adopts the stipulation of counsel set forth
3    above, and it is hereby ordered that U.S. Probation prepare a pre-plea pre-sentence
4    report including a criminal record check and a preliminary guideline calculations.
5                           FURTHER, The Court finds that the ends of justice served by this continuance
6    outweigh the best interest of the public and the defendant in a speedy trial.
7                           THEREFORE, IT IS FURTHER ORDERED that time be excluded pursuant to 18
8    U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 from the date of this order to November 17,
9    2011.
10                          IT IS SO ORDERED.
11   Dated: October 14, 2011
12
                                                         __________________________________
13                                                       MORRISON C. ENGLAND, JR
     DEAC_Signature- END:
                                                         UNITED STATES DISTRICT JUDGE
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     Stipulation and Order to U.S. Probation                                           Case no. CR 11-00295 MCE
     to Prepare a Pre-Plea Pre-Sentence Report
